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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

  Case No. SA CV 17-2223-DOC (KESx)                                Date: October 1, 2018

  Title: MISS GLOBAL ORGANIZATION LLC ET AL V. MAK ET AL


  PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

               Deborah Lewman                                 Not Present
               Courtroom Clerk                               Court Reporter

        ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
              PLAINTIFF:                                 DEFENDANT:
             None Present                                 None Present



        PROCEEDINGS (IN CHAMBERS): ORDER GRANTING IN PART
                                   PLAINTIFF’S MOTION TO
                                   DISMISS COUNTERCLAIM [51]

         Before the Court is Plaintiff and Counterdefendant Van Pham’s (“Pham”) Motion
  to Dismiss First Amended Counterclaim (“Motion”) (Dkt. 51). The Court finds this
  matter appropriate for resolution without oral argument. See Fed. R. Civ. P. 78; L.R. 7-
  15. Having reviewed the papers and considered the parties’ arguments, the Court
  GRANTS IN PART Pham’s Motion.

  I.    Background

        A.     Facts

         This case arises from a dispute over Miss Global Organization (“MGO”), which is
  the organizer of Miss Global, an annual beauty pageant. See Complaint (Dkt. 1) ¶ 13.
  Pham and MGO bring suit against Defendants Sokhuntea Mak (“Mak”) and Scott Ware
  (“Ware”) (collectively “Defendants”). See Compl. at 1. Counterclaimant Mak filed an
  Amended Counterclaim (“ACC”) (Dkt. 50) for copyright infringement.
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         For the purposes of this Motion, the Court adopts the facts set out in the Amended
  Counterclaim. Pham and Mak are allegedly co-founders of MGO. ACC ¶ 14. Mak has
  had a long-standing career in the entertainment industry as a consultant, red carpet host,
  model, and actress. Id. ¶ 9. Around April 2011, Pham requested to meet with Mak and
  asked about Mak’s connections in the entertainment industry. Id. ¶ 10. Pham and Mak
  began discussing business ideas in the entertainment field, so that Pham could capitalize
  on Mak’s established connections in the entertainment industry. Id. In September 2011,
  Mak suggested that they create a company that arranges and conducts beauty pageants.
  Id. ¶ 11. Pham and Mak allegedly entered into an oral agreement (“2011 Verbal
  Agreement”) to be co-founders and share an equal 50-50 ownership interest. Id. ¶¶ 14,
  28. Pham and Mak agreed that Mak would provide the vision for MGO, as well as
  establish and oversee the company’s operations and procedures. Id. ¶ 15. Pham would
  handle MGO’s financial operations. Id. Mak alleges that she came up with the company
  name of Miss Global Organization. Id. ¶ 12. Pham was instructed to purchase the domain
  name on MGO’s behalf, along with five other domain names related to MGO. Id. ¶ 13.

         Mak alleges that since the company’s inception, she has expended significant time
  and recourses developing MGO. Id.¶ 16. Mak allegedly formulated all of the ideas behind
  the development of MGO including, but not limited to, the company name, the company
  trademark, the rules and regulations, business model, judging criteria, logo designs,
  slogans, and company mission. Id. In or around April 2011, Mak created the MGO design
  and logo (the “Work”). Id. ¶ 17.

          On March 10, 2012, Pham registered MGO with the California Secretary of State
  as a limited liability company. Id. ¶ 19. Pham assured Mak that her name was on MGO’s
  business registration filing as an owner of the company. Id. However, Mak alleges that
  this representation was not true, and that it was not until September 2017 that she
  discovered that Pham had failed to list her as an owner of MGO in the company’s
  business registration filing. Id. On July 2012, Pham opened a Bank of America business
  account for MGO without adding Mak to the account, despite the fact that Pham and Mak
  had agreed that they would both be signers on the account for MGO. Id. ¶ 20. Pham
  assured Mak that he would add her to the account, but Pham failed to add Mak as a signer
  on MGO’s bank account. Id.

         On October 2, 2012, Pham registered MGO’s trademark, Registration No.
  4,219,443 under his personal name. Id. ¶ 21. Mak alleges that this was despite the fact
  that Mak and Pham had specifically agreed that MGO’s trademark would be registered
  under the company’s name. Id. Pham assured Mak that the trademark was registered
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  under the company’s name. Id. Moreover, Mak alleges that it was not until September
  2017 that Mak discovered that Pham had registered MGO’s trademark under his personal
  name rather than under the company name. Id. Moreover, the trademark is allegedly
  “completely based on Mak’s design.” Id.

         Mak alleges that throughout the years, MGO continued to grow and prosper
  because of her efforts. Id. ¶ 24. Mak further allege that Pham significantly mismanaged
  MGO’s business operations. Id. ¶ 25. Over time, Pham’s relationship with MGO staff and
  contestants became increasingly strained because of his alleged hostile attitude and lack
  of leadership. Id. Subsequently, Mak began to take more control of MGO’s operations.
  Id. Mak alleges that Pham has engaged in numerous acts of inappropriate and wrongful
  conduct to the detriment of MGO and Mak. Id. ¶ 26. Mak alleges that Pham has tarnished
  Mak’s name. Id. ¶ 27. Mak alleges that despite her ownership interest, she has never
  received any form of compensation from the company. Id. ¶ 33. Mak worked alongside
  Pham as alleged co-owners of MGO until they had a falling out in 2017. Id. ¶ 34.

         On March 2, 2018, Mak submitted the Work for copyright registration with the
  Unites States Copyright Office. Id. ¶ 29. Mak alleges that she has always been the sole
  and exclusive owner of the Work. Id. ¶ 30. The following is the Work:




  Id. ¶ 37.
         Mak alleges that Pham is infringing her copyright by knowingly and willfully
  using the Work without her consent or authorization. Id. ¶ 40. Mak alleges that Pham has
  used the design and continues to this day to use the design on his own website and on
  marketing materials for the MGO pageant. Id. Mak alleges Pham’s acts violate her
  exclusive rights under the Copyright Act, 17 U.S.C. Sections 106 and 501. Id. Mak
  alleges that because of Pham’s infringing acts, she is entitled to her actual damages and
  Counter-Defendant’s profits attributable in an amount to be proved at trial and all other
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  relief allowed under the Copyright Act. Id. ¶ 42. Mak also alleges she is entitled to a
  preliminary and permanent injunction. Id. ¶ 43.

         B.     Procedural History

        On December 20, 2017, Pham filed a Complaint. See Complaint (Dkt. 1). On
  February 16, 2018, Mak filed an Answer (Dkt. 22), and Mak and MGO filed the
  Counterclaim (Dkt. 23), bringing fourteen counterclaims. On June 27, 2018, the Court
  dismissed all but one of the Counterclaims with prejudice and the sole remaining
  copyright infringement claim being dismissed without prejudice. See Order Granting
  Motion to Dismiss Counterclaims. (“First MTD Order”) (Dkt. 49).

          On July 10, 2018, Mak filed an Amended Counterclaim for copyright
  infringement (“ACC”) (Dkt. 50), seeking relief for damages (statutory, punitive, and
  future damages), injunction against using the copyrighted material, documentation of all
  accounting for all profits, and attorney’s fees. ACC at 12.

          On July 24, 2018, Pham filed the instant Motion, seeking to dismiss the copyright
  infringement counterclaim on that basis it fails to state a plausible claim upon which
  relief can be granted and is time barred by the statute of limitations. See generally Mot.
  Pham also filed a Request for Judicial Notice (“RJN”) (Dkt. 52). On August 3, 2018,
  Mak filed her Opposition (“Opp’n”) (Dkt. 53) and on August 13, 2018, Pham replied
  (“Reply”) (Dkt. 54).

  II.    Request for Judicial Notice

           Pham requests that the Court take judicial notice of six documents. See RJN at 2.
  Pursuant to Federal Rule of Evidence 201, “[a] court shall take judicial notice if
  requested by a party and supplied with the necessary information.” Fed. R. Evid. 201(d).
  An adjudicative fact may be judicially noticed if it is “not subject to reasonable dispute in
  that it is either (1) generally known within the territorial jurisdiction of the trial court or
  (2) capable of accurate and ready determination by resort to sources whose accuracy
  cannot reasonably be questioned.” Fed. R. Evid. 201(b). Thus, a court “may take judicial
  notice of matters of public record, including duly recorded documents, and court records
  available to the public through the Pacer system via the internet.” C.B. v. Sonora Sch.
  Dist., 691 F. Supp. 2d 1123, 1138 (E.D. Cal. 2009); see also Holder v. Holder, 305 F.3d
  854, 866 (9th Cir. 2002). The Court may also take judicial notice of documents available
  on a government agency’s website. Gustavson v. Wrigley Sales Co., 961 F. Supp. 2d
  1100, 1113 n.1 (N.D. Cal. 2013). “[D]ocuments on which allegations in the complaint
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  necessarily rely, even if not expressly referenced in the complaint” are subject to judicial
  notice, “provided that the authenticity of those documents is not in dispute.” Stewart v.
  Screen Gems-EMI Music, Inc., 81 F. Supp. 3d 938, 951 (N.D. Cal. 2015) (emphasis in
  original).

         Pham requests that the Court take judicial notice of the following six documents,
  filed with the Court as Exhibits 1 through 6 to Pham’s Request for Judicial Notice:

         1. The Unites States Patent and Trademark Office, Certificate of Trademark
            Registration for the mark “MISS GLOBAL” in the name of Van Pham;
            Registration No. 4,140,556 (Registration Date: May 8, 2012);
         2. A screenshot of the Unites States Patent and Trademark Office Website for the
            Miss Global mark;
         3. The Unites States Patent and Trademark Office, Certificate of Trademark
            Registration for the mark “G MISS GLOBAL” in the name of Van Pham;
            Registration No. 4,219,443 (Registration Date: October 2, 2012);
         4. A screenshot of the Unites States Patent and Trademark Office Website for the
            G Miss Global mark;
         5. The Statement of Information for Miss Global Organization, LLC filed with
            the California Secretary of State on May 10, 2012, identifying Van M. Pham as
            the sole manager; and
         6. The Articles of Organization for Miss Global Organization, LLC filed with the
            California Secretary of State on March 21, 2012.

  See RJN at 2, Exs. 1–6.

          Exhibits 1 through 4 of RJN are available on the United States Patent and
  Trademark Office Website, and no party objects to their authenticity. See RJN Ex. 1
  (“United States Patent and Trademark Office Certificate of Trademark Registration for
  the mark of “Miss Global” in the name of Van Pham”); Ex. 2 (“United States Patent and
  Trademark Office Website of the “Miss Global” mark.”) Ex. 3 (“United States Patent and
  Trademark Office Certificate of Trademark Registration for the mark of “G Miss Global”
  in the name of Van Pham”); and Ex. 4 (“United States Patent and Trademark Office
  Website of the “G Miss Global” mark”). Exhibits 5 and 6 to RJN describes a Statement
  of Information and Articles of Organization for the Miss Global Organization, and are
  available on the California Secretary of State Website. See RJN Ex. 5 (“Statement of
  Information for Miss Global Organization, LLC filed with the California Secretary of
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  State.”) and Ex. 6 (“Articles of Organization for Miss Global Organization, LLC filed
  with the California Secretary of State.”). Neither party objects to the authenticity of those
  documents, as these documents can be found on official government websites.1 Thus, the
  documents are the proper subject of judicial notice. See Fed. R. Evid. 201; see also
  Jeffrey M. Goldberg & Assocs., Ltd. v. Holstein, 299 B.R. 211 (Bankr. N.D. Ill. Sept. 24,
  2003) (finding that a federal court can take judicial notice of information on official
  government websites).

        Accordingly, the Court takes judicial notice of Exhibits 1 through 6 to Pham’s
  Request for Judicial Notice.

  III.      Legal Standard

         Under Federal Rule of Civil Procedure 12(b)(6), a complaint must be dismissed
  when a plaintiff’s allegations fail to set forth a set of facts that, if true, would entitle the
  complainant to relief. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Ashcroft v.
  Iqbal, 556 U.S. 662, 679 (2009) (holding that a claim must be facially plausible in order
  to survive a motion to dismiss). The pleadings must raise the right to relief beyond the
  speculative level; a plaintiff must provide “more than labels and conclusions, and a
  formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S.
  at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). On a motion to dismiss, a
  court accepts as true a plaintiff’s well-pleaded factual allegations and construes all factual
  inferences in the light most favorable to the plaintiff. See Manzarek v. St. Paul Fire &
  Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). A court is not required to accept as
  true legal conclusions couched as factual allegations. Iqbal, 556 U.S. at 678.

         In evaluating a Rule 12(b)(6) motion, review is ordinarily limited to the contents
  of the complaint and material properly submitted with the complaint. Van Buskirk v.
  Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002); Hal Roach Studios, Inc. v.
  Richard Feiner & Co., Inc., 896 F.2d 1542, 1555 n.19 (9th Cir. 1990). Under the
  incorporation by reference doctrine, the court may also consider documents “whose
  contents are alleged in a complaint and whose authenticity no party questions, but which
  are not physically attached to the pleading.” Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.
  1994), overruled on other grounds by 307 F.3d 1119, 1121 (9th Cir. 2002); see also
  United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
  1
    Counterclaimant disputes the truth of some of the information contained in Exhibits 1 through 6 to Pham’s
  RJN, specifically the fact of whose name the trademarks should be really registered to and the conclusions that may
  be drawn from them. See generally Opp’n. However, Pham does not request that the Court take judicial notice of the
  truth of the facts asserted in those exhibits, and the Court does not do so.
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  IV.    Discussion

          Pham moves to dismiss Mak’s counterclaim for copyright infringement on the
  basis that it fails to state a claim upon which relief can be granted for four reasons. See
  generally Mot. First, Mak’s FAC for copyright infringement fails to plead actual copying.
  Id. at 9. Second, Mak fails to plead sufficient facts to state a plausible claim for copyright
  infringement. Id.. at 12. Third, Mak’s claim for copyright infringement is barred by the
  three-year statute of limitations. Id. Finally, Mak’s request for statutory damages,
  attorney’s fees, and punitive damages must be dismissed. Id. at 14.

         A.     Unauthorized Copying

          Pham argues that Mak does not sufficiently allege actual unauthorized copying,
  arguing that the use of the MGO design and logo for MGO and by an owner of MGO
  cannot constitute copyright infringement, and thus Mak fails to allege that there is any
  violation in connection with the use of the design. Mot. at 11. Mak argues that she has
  adequately pled her copyright infringement claim for three reasons: she “is the sole,
  exclusive owner of all rights, title, and interest in and to the copyright of the Work”; she
  has properly alleged Pham’s trademark is “completely based on [her] design”; and Pham
  is “infringing [her] copyright by knowingly and willfully using the Work without consent
  or authorization.” ACC ¶¶ 21, 38, 40; Opp’n at 3–4. Pham responds by arguing that Mak
  did not address Pham’s argument that Mak’s claim for copyright infringement is in direct
  conflict with Mak’s allegations that she is a co-owner of MGO with Pham and thereby,
  Mak effectively concedes her claim. Reply at 2.

          To establish a claim for copyright infringement, a plaintiff must prove two
  elements: (1) ownership of a valid copyright, and (2) copying of constituent elements of
  the work that are original. L.A. Printex Industries, Inc. v. Aeropostale, Inc., 676 F.3d 841,
  846 (9th Cir. 2012), as amended on denial of reh’g and reh’g en banc, (June 13, 2012).
  In addition, a plaintiff can show defendant’s infringement was “willful” by establishing
  that the defendant acted with “knowledge that its conduct constitutes an act of
  infringement.” Oracle Am., Inc. v. Google Inc., 131 F. Supp. 3d 946, 949 (N.D. Cal.
  2015).

         As to the first element, ownership, Mak alleges that the MGO logo is her original
  design, created solely by her and that it contains material wholly original to her. ACC ¶¶
  27, 30, 37, 38; Opp’n at 3. To support this, Mak submitted a Copyright Office
  Registration through a Notice of Lodging (Dkt. 56). Thus, Mak has sufficiently pleaded
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  facts sufficient to demonstrate that she has “ownership of the alleged infringed material.”
  See L.A. Printex Industries, 676 F.3d at 846.

         As to the second element, copying, Mak alleges facts regarding unauthorized
  copying of elements of the work that are original. See Id. Namely, Mak has alleged
  Pham’s trademark is “completely based on Mak’s design.” ACC ¶ 21; Opp’n at 4.
  Furthermore, Mak alleges this copying is “without [her] consent or authorization.” ACC
  ¶ 40, Opp’n at 3. The image in the trademark and the copyright are identical. Compare
  RJN Ex. 3 with Notice of Lodging Ex. 1. Thus, Mak sufficiently pleads facts supporting
  evidence of unauthorized copying for the purposes of bringing a copyright infringement
  claim.

           As to Pham’s argument that he is not subject to copyright infringement because
  he is the owner of the trademark, the district courts have held that trademarks and
  copyrights are two different kinds of intellectual property with separate rights attached to
  each of them. “The universe of cases that deal with conflicts between trademarks and
  copyrights is small and not fully developed. The general rule stated by the leading treatise
  is that the two kinds of intellectual property are different, and the acquisition of one is not
  a defense to an allegation of infringement of the other. Elements Spirits, Inc. v. Iconic
  Brands, Inc., No. CV 15-02692 DDP (AGRx), 2015 WL 3649295, at 4 (C.D. Cal. June
  11, 2015) (citing 1 McCarthy on Trademarks and Unfair Competition §6:14 (4th ed.).
  “Just as one may not draw another’s trademark, copyright the drawing, and thereby evade
  trademark law, one also may not appropriate another’s copyrighted work as one’s
  trademark…and thereby evade copyright law.” Id. at 5. “Furthermore, possession of a
  service mark is not a defense to infringement of a valid copyright.” Boyle v. U.S., 200
  F.3d 1369 (Fed. Cir. 2000) (holding that “although the grant of a service mark
  registration entitles the registrant to certain rights and privileges under the Trademark
  Act, the right to infringe another’s copyright is not one of those rights”). Conversely,
  a valid copyright does not entitle the copyright owner to infringe another’s trade[mark]
  rights. Nova Wines, Inc. v. Adler Fels Winery LLC, 467 F.Supp.2d 965, 983 (N.D. Cal.
  2006).

          Pham argues that because he is owner of MGO and the MGO trademark, he
  cannot infringe his own company’s logo by using that logo to promote the same company
  as this constitutes authorized use. Mot. at 1. Mak reiterates that she “created” and “is the
  sole exlcusive owner of all rights, title, and interest in and to the copyright of the Work.
  (FAC¶ 38), and that “Pham is infringing [her] copyright by knowingly and willfully
  using the work without [her] consent or authorization” (FAC ¶ 40). Opp’n at 3. Pham
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  claims that Mak fails to state a claim because the alleged use of the MGO design and
  logo for MGO by an owner of MGO cannot constitute copyright infringement. Reply at 3

         Here, Pham’s registration of the trademark in his name is not a defense to Mak’s
  copyright infringement claim. Pham cites no supporting authority indicating that
  ownership a trademark, or its use as an owner of a company, equates to an authorized use
  of another’s copyright. Thus, Mak sufficiently pleads unauthorized copying of her
  copyrighted image despite Pham owning the trademark to the image.

          Thus, the Court DENIES Pham’s Motion to the extent that Pham argues that Mak
  fails to allege unauthorized copying.

         B.     Sufficient Facts to State a Plausible Claim.

         Next, Pham argues that Mak has not alleged “specific acts and during what time”
  Pham allegedly infringed the copyright, and thus has failed to state a claim. Mot. at 12.
  Mak argues that Pham used the copyrighted Work in promotional marketing materials
  and media online. ACC ¶ 40; Opp’n at 4. Pham replies that Mak’s opposition does
  nothing to counter the argument that the ACC does not contain sufficient facts to state a
  claim for relief that is plausible on its face. Reply at 4.

          “Factual allegations must be enough to raise a right to relief above the speculative
  level.” Twombly, 550 U.S. at 555. “To survive a motion to dismiss, a complaint must
  contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
  plausible on its face.’” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 570).

         Here, Mak has plead sufficient facts to state a plausible claim by including specific
  acts and duration of the alleged copyright infringement. Namely, Mak has alleged that
  Pham used the design and continues to this day to use the design in promotional
  marketing materials and media online. ACC ¶ 40; Opp’n at 4. This raises a right to relief
  above the speculative level.

          Thus, the Court DENIES Pham’s Motion to the extent That Pham argues that Mak
  fails to allege specific acts to state a plausible claim.

         C.     Three-Year Statute of Limitations.

        Pham argues that the counterclaim is barred by the three-year statute of limitations
  because Mak acknowledges Pham’s USPTO Trademark application was registered on
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  October 2, 2012. Mot. at 12. Mak argues that the claim is not barred by the statute of
  limitations because she only discovered that Pham had not added her name to the
  trademark in September 2017. ACC ¶ 21. Furthermore, Mak argues that Pham has been
  continually using the copyright without permission in the year 2018 and thus the claim
  continues to accrue. Opp’n at 4. Pham responds that Mak’s opposition makes clear that
  the “gravamen of her [claim] is ownership” and thus is barred by the statute of
  limitations. Reply at 4.

           “[C]laims of co-ownership, as distinct from claims of infringement,’ accrue only
  once, ‘when plain and express repudiation of co-ownership is communicated to the
  claimant, and are barred three years from the time of repudiation.” Seven Arts Filmed
  Entm’t Ltd. v. Content Media Corp. PLC, 733 F.3d 1251, 1254 (9th Cir. 2013) (citing
  Zuill v. Shanahan, 80 F.3d 1366,1369 (9th Cir. 1996)).

         As to the ownership claim, Mak and Pham do not dispute ownership. Pham
  registered the trademark on October 2, 2012. ACC ¶ 21. Conversely, Mak registered the
  copyright on March 2, 2018. ACC ¶ 29, see also Dkt. 56. Thus, this is not an ownership
  claim and therefore the claim does not accrue only once.

          As to the infringement claim, there are two issues. First, whether Mak had
  “knowledge of a violation or is chargeable with such knowledge.” Roley, 19 F.3d at 481.
  Second, whether Pham’s continuous use of the Work permits an action to be brought for
  all acts that accrued within the three year preceding the filing of suit. Id.

          “No civil action shall be maintained unless it is commenced within three years
  after the claim accrued.” 17 U.S.C. §507(b). “A cause of action for copyright
  infringement accrues when one has knowledge of a violation or is chargeable with such
  knowledge.” Roley v. New World Pictures, Ltd., 19 F.3d 497, 481 (9th Cir. 1994). “Thus,
  under Roley, the statute of limitations does not prohibit recovery of damages occurred
  more than three years ago prior to the filing of suit if the copyright plaintiff was unaware
  of the infringement, and the lack of knowledge was reasonable under the circumstances.”
  Polar Bear Productions, Inc. v. Timex Corp., 384 F.3d 700 (9th Cir. 2004). “In a case of
  continuing copyright infringements, an action may be brought for all acts that accrued
  within the three years preceding the filing of the suit.” Roley, 19 F.3d at 481.

         First, as to knowledge, Mak knew that Pham registered the trademark in October
  2012. ACC ¶ 21; Opp’n at 13. However, Mak alleges she only discovered that Pham had
  registered the trademark under his personal name rather than under the company name in
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  September 2017. ACC ¶ 21. Even if Mak only discovered the trademark did not bear her
  name in September 2017, Mak is “chargeable with such knowledge” because the Mak
  had ample opportunity to obtain knowledge regarding the alleged cause of her injury, by
  checking the United States Patent and Trademark Office Website Certificate of
  Trademark Registration for the mark of “G Miss Global” in the name of Van Pham. See
  RJN Ex. 3. Thus, because Mak knew and was chargeable with knowledge about Pham’s
  infringement when he registered the Work, the infringement claim began to accrue on
  October 2, 2012.

         Second, as to accrual, Pham’s continuous use of the Work on the MGO website
  and in MGO marketing material without permission in at least the year 2018 constitutes a
  “continuous copyright infringement” for the purposes of bringing an action for “all acts
  that accrued within the three years preceding the filing of the suit.” Roley, 19 F.3d at 481.
  Thus, Mak can bring an action for all acts that accrued three years from the filing of this
  Amended Counterclaim. Because Mak filed this Amended Counterclaim on July 10,
  2018, Mak can bring an action for all acts that accrued since July 10, 2015.

         Thus, the Court DENIES Pham’s Motion to the extent the Pham argues that Mak’s
  claim is barred by the three-year statute of limitations.

         D.     Remedies

          Next, Pham argues that all damages and attorney’s fees must be dismissed. Mot. at
  14. In response, Mak argues that she is entitled to damages resulting from infringement.
  Opp’n at 4. Pham replies by arguing that Mak does not contest his argument that she is
  prohibited from recovering damages or attorney’s fees because Pham argues that
  statutory provisions bar recovery. Reply at 9. The Court will address the different types
  of damages in turn.

                a. Statutory Damages & Attorney’s Fees.

          In an action instituted under this title, no award of statutory damages or of
  attorney’s fees, as provided by §§504 and 505, shall be made for any infringement of
  copyright commenced in an unpublished work before the effective date of registration. 17
  U.S.C. 412(1). Nor shall any statutory damages or attorney’s fees be awarded for any
  infringement of copyright commenced after first publication of the work and before the
  effective date of its registration, unless such registration is made within three months
  after the first publication of the work. 17 U.S.C. §412(2). “In other words, an award for
  statutory damages and attorney’s fees for post-registration infringements not within three
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  months after first publication of work is not available under the Copyright Act when the
  initial act of infringement occurred prior to effective copyright registration date and there
  was no legally significant difference between pre-registration and post-registration
  infringement.” Derek Andrew, Inc. v. Poof Apparel Corp., 528 F.3d 696 (9th Cir. 2008)
  (where the court held that pre-registration and post-registration infringement was not a
  legally significant difference when infringer continued the same act of distributing
  garments bearing the infringing hang-tag before and after copyright registration).

         Here, Counterclaimant’s copyright registration of the Work states that the “Date of
  1st Publication” was January 27, 2013. (Dkt. 56-1). Any infringement commenced before
  January 27, 2013 is not entitled to statutory damages or attorney’s fees because no award
  shall be made for any infringement of copyright commenced in an unpublished work
  before the effective date of registration. Furthermore, Counterclaimant only registered the
  Work on March 2, 2018. Any infringement after January 27, 2013 but before March 2,
  2018 is not entitled to statutory damages or attorney’s fees because registration did not
  occur within the proscribed three months under 17 U.S.C §412(2). Finally, any
  infringement after March 2, 2018 is not entitled to statutory damages or attorney’s fees
  because there is no legally significant difference between pre-registration and post-
  registration infringement: Mak concedes that Pham has used the design and continues to
  this day to use the design in the same way by using it on his own website and on
  marketing materials. ACC ¶ 40. Thus, even though Pham’s infringement is continuous
  and thereby causes a new claim to accrue, there is no legally significant difference
  between pre-registration and post-registration infringement, which thereby prevents
  recovery of statutory damages and attorney’s fees.

        Thus, the Court DISMISSES WITH PREJUDICE Mak’s counterclaim for
  copyright infringement to the extent that Mak seeks statutory damages and attorney’s
  fees.

                b. Punitive Damages

         Next, “prevailing case law is clear that punitive damages are not available in
  statutory copyright infringement action. Calio v. Sofa Express, Inc., 368 F.Supp.2d 1290,
  1291 (M.D. Florida 2005). (citing Budget Cinema, Inc. v. Watertower Associates, 81 F.3d
  729, 733 (7th Cir. 1996); On Davis v. Gap Inc., 246 F.3d 152, 172 (2d Cir. 2001). Two
  cases from the United States District Court for the Southern District of New York (TVT
  Records v. The Island Def Jam Music Group, 262 F.Supp.2d 185 (S.D.N.Y 2003); Blanc
  v. Koons, 329 F.Supp.2d 568 (S.D.N.Y 2004) hold that punitive damages are available as
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  a remedy under §504(a). However, two Ninth Circuit decisions support the conclusion
  that punitive damages are simply not available under the Copyright Act. See Dream
  Games of Arz., Inc. v. PC Onsite, 561 F.3d 983, 992 (9th Cir. 2009) (noting that statutory
  damages provision in Copyright Act “further[s] ‘compensatory and punitive purposes’”)
  (quoting Los Angeles New Serv. v. Reuters Tele. Int’l, Ltd., 149 F.3d 987, 996 (9th Cir.
  1998)); Polar Bear Prods., Inc., 384 F.3d at 704–705 (indicating that, although claim
  under Copyright Act remained in case, “[b]y dismissing Polar Bear’s two state law tort
  claims, the district court effectively precluded Polar Bear from seeking punitive
  damages”). Furthermore, this Court has previously dismissed with prejudice a plaintiff’s
  claim for punitive damages due to copyright infringement concluding that punitive
  damages are not available under the Copyright Act. Griffo v. Oculus VR, Inc., No, 15-
  CV-1228-DOC (JCGx), 2016 WL 7494892 at *4 (C.D. Cal. Dec. 27, 2016).

        Accordingly, the Court DISMISSES WITH PREJUDICE Mak’s claim for
  copyright infringement to the extent that Mak seeks punitive damages.

                c. Actual Damages

          Pham argues Mak is not entitled to actual damages because she is not entitled to
  other forms of awards such as statutory damages, punitive damages, or attorney’s fees.
  See Mot. at 16. Mak, however, argues that she is entitled to actual damages in the form of
  lost income that would have come from licensing the Work to MGO had it not been for
  Pham’s false representations. Opp’n at 4.

          “The copyright owner is entitled to recover the actual damages suffered by him or
  her as a result of the infringement, and any profits of the infringer that are attributable to
  the infringement and are not taken into account in computing the actual damages.” 17
  U.S.C.§504(b).

          Here, Counterclaimant can seek to recover actual damages and profits as a result
  of Pham’s alleged infringement. Pham’s continuous infringement permits Mak to recover
  for “all acts that accrued within the three years preceding the filing of the suit.” Roley, 19
  F.3d at 481. Thus, Mak can recover actual damages and profits for all acts that accrued
  since July 10, 2015, three years preceding the filing of the ACC on July 10, 2018.

         Accordingly, the Court DENIES IN PART Pham’s Motion to the extent that Pham
  argues that Mak cannot seek actual damages.
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  V.     Disposition

       For the reasons set forth above, the Court GRANTS IN PART and DENIES IN
  PART Pham’s Motion.

         Accordingly, the Court DISMISSES WITH PREJUDICE Mak’s copyright
  infringement claim to the extent that she seeks statutory damages, punitive damages, and
  attorney’s fees.

         The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11                                                  Initials of Deputy Clerk: djl
   CIVIL-GEN
